






Carl Long v. State
















IN THE
TENTH COURT OF APPEALS
                       

No. 10-00-00305-CR

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;CARL LONG,
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;v.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;THE STATE OF TEXAS,
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellee
                                 

From the 13th District Court
Navarro County, Texas
Trial Court # 27,380
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O P I N I O N
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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A jury found Carl Long guilty of manufacturing a controlled substance; namely,
methamphetamine.  Long elected to have the trial court assess his punishment.  He pled true to
two enhancement paragraphs.  The court found those enhancements to be true and sentenced
Long to forty-five years in prison.  Long appeals the trial court’s judgment.  We affirm.
Overview
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Detective Elmer Tanner of the Navarro County Sheriff’s Department executed a search
warrant of Long’s residence.  The search warrant was issued upon Tanner’s affidavit which
included information Tanner received from a confidential informant (CI) and from his own
personal observations at Long’s residence.  During the search of the house, methamphetamine
and equipment and ingredients commonly used in the production of methamphetamine were
found.  Tanner field tested the drugs found at Long’s residence and received a positive test
result for methamphetamine.  Long was ultimately charged with manufacturing a controlled
substance.  Long wrote a letter, which was admitted at trial, in which he confessed to
manufacturing about twenty grams of methamphetamine and making some gas and cigarette
money from its sale.
Motion to Suppress 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In his first issue, Long contends that the trial court erred in denying his motion to suppress
because the affidavit used for the issuance of a search warrant did not contain sufficient facts to
establish probable cause.  Specifically, he argues:  (1) that the statements attributed to the CI in
the affidavit were conclusions, not facts, as is required by Article 18.01;


 and (2) that the
information sworn to in the affidavit concerning the CI’s reliability was false or made with
reckless disregard for the truth.  We will begin our review of this issue with the second part of
his argument.
Law
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We have previously set out the standard of review for a motion to suppress and the law
generally applicable to review the sufficiency of a search warrant.  See Brown v. State, 115
S.W.3d 633, 635-37 (Tex. App.—Waco 2003, no pet.).  We will use those standards, with
additional law specific to Long’s issue, to determine whether the trial court erred in denying
Long’s motion to suppress.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Confidential Informant&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;When a CI provides facts upon which probable cause for the issuance of a search warrant
relies, the veracity, reliability, and basis of knowledge of the CI, though relevant in
determining the value of the informant’s report, “should be understood simply as closely
intertwined issues that may usefully illuminate the commonsense, practical question whether
there is ‘probable cause’ to believe that contraband or evidence is located in a particular
place.”  Illinois v. Gates, 462 U.S. 213, 230, 238 103 S.Ct. 2317, 76 L.Ed.2d 527 (1983).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;False Statement in Affidavit
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The United States Supreme Court, in Franks v. Delaware, stated that if, at a hearing, the
defendant establishes by a preponderance of the evidence an allegation of perjury or reckless
disregard, the affidavit’s false material is set aside; and if the remainder of the affidavit is
insufficient to establish probable cause, the search warrant is voided and the fruits of the search
are excluded.  Franks v. Delaware, 438 U.S. 154, 156, 98 S.Ct. 2674, 2676, 57 L.Ed.2d 667
(1978).  Under Franks, the false statement in the affidavit must have been either intentional or
made with reckless disregard for the truth, and must have been necessary to the finding of
probable cause, in order to render the warrant invalid.  Dancy v. State, 728 S.W.2d 772, 782
(Tex. Crim. App. 1987).  “If the statement was an instance ‘where the police have been
merely negligent in checking or recording the facts relevant to a probable cause determination,’
then as such, it is beyond the pale of Franks.”  Id. (quoting Franks, 438 U.S. at 170, 98 S.Ct.
at 2683).  A misstatement in an affidavit that is merely the result of simple negligence or
inadvertence, as opposed to reckless disregard for the truth, will not render invalid the warrant
based on it.  Franks, 438 U.S. at 171, 98 S.Ct. at 2684; Dancy, 728 S.W.2d at 783.
Affiant’s Truthfulness
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Long insists the portion of the affidavit regarding the reliability of the CI is false; thus, it
must be excised.  And once that section is excised, so Long’s argument goes, the affidavit is
incomplete because it does not contain the requirement of showing the credibility of the CI
and, therefore, does not establish probable cause on which to base a search warrant.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Detective Tanner stated in his affidavit: (wording as in original)
Affiant believes that the information so furnished is true and correct, and that
the informant is credible, because said informant has previously furnished
information to affiant on at least two or more occasions in Navarro County,
Texas, and on each and every occasion, such information has proven true,
correct and reliable.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Long argues that Tanner testified at the motion to suppress hearing that the CI had not
furnished reliable information to him on at least two occasions because the CI had only been
paid for information once, and it was the department’s practice to pay informants when the
information provided by the CI proved to be reliable.  After a complete reading of the
testimony given by Tanner at the motion to suppress hearing, we disagree with Long’s
evaluation of what was said.  There may have been some question raised regarding the number
of payments made to this CI, but there was no testimony that contradicted Tanner’s statement
in the affidavit regarding the CI’s reliability.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court heard Tanner’s testimony regarding the number of times this CI had proven
reliable and the cross-examination concerning the possible inconsistent number of times the
department had paid this CI.  Giving almost total deference to the trial court’s determinations
of facts that are based on an evaluation of the credibility of a witness, we find the trial court
did not err in choosing to believe Tanner’s testimony regarding the reliability of the CI.
Conclusions in the Affidavit
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In his affidavit supporting his request for a search warrant, Detective Tanner relayed
information he obtained from a CI and from his own personal observations made while at
Long’s residence, stating in pertinent part: (abbreviations and wording as in original)
5.  Affiant has probable cause for said belief by reason of the following facts: 
Affiant, Elmer Tanner, is a deputy sheriff employed by the Navarro County
Sheriff’s Department as a detective sergeant currently assigned to the
narcotics division.  Affiant and Detective Tanner have received information
on several occasions within the past two months that Carl Long has
manufactured as well as possessed methamphetamine speed at his residence
in the Brushie Prairie Community.  Detective Tanner has received
information from a confidential informant hereinafter referred to as (CI) that
Carl Long keeps the equipment to manufacture methamphetamine speed at his
residence in a hole in the ground next to the house.  The CI said that when
Long gets ready to manufacture, he removes the lab equipment from the hole
outside the house, takes it into the house and cooks the speed.  The CI
advised that Carl Long is using the Nazi Lab method to manufacture
methamphetamine speed.  Detective Tanner has been to the suspected
residence within the past two months assisting Detective Jones on a follow up
of a arson investigation and Detective Tanner smelled a odor of ether around
the southwest corner of the residence.  Detective Tanner is familiar that ether
is used in the manufacture of Nazi speed.  The CI advised Detective Tanner
that Long manufactures the speed in the southwest corner of the house which
is a bedroom.  The CI advised Detective Tanner that Long always has all of
the necessary equipment and is able to obtain the necessary chemicals to
manufacture Nazi speed.
&nbsp;
6.  On April 8th, 1999, Detective Tanner received information from a
confidential informant hereinafter referred to as (CI) that he or she had been
by the suspected premises within the last 48 hrs and he or she had observed
methamphetamine (speed) being manufactured at the suspected premises by
Carl Long and others.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Long argues that the affidavit is insufficient because the statements of the CI are
conclusions and do not show the CI had any basis of knowledge for what the suspected
substance was, how it looked, or how it smelled.  Long concedes that other facts appear in the
four corners of the affidavit but argues the facts that do appear are not sufficient to meet the
requirement of Article 18.01 for specific facts.  Tex. Code Crim. Proc. Ann. art. 18.01(b)
(Vernon Supp. 2004).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The information given to Tanner by the CI concerning the hole in the ground, the lab
equipment kept in the hole, removal of the lab equipment from the hole, and where in the
house the lab equipment is used, are factual statements, not conclusions, and do not require a
showing of the CI’s knowledge regarding the look or smell of methamphetamine.  Further, it is
a reasonable inference that a CI who specifies the method of methamphetamine production
being used (Nazi Lab method) is familiar enough with methamphetamine to recognize the
substance when he or she sees it being produced.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Tanner’s personal observation of the smell of ether at the southwest corner of Long’s
residence was corroborated by the CI’s statement that Long made the methamphetamine in a
bedroom that was in the southwest corner of his residence.  The facts as related by Tanner in
his affidavit meet the requirements of Article 18.01.  Looking at the totality of the
circumstances presented to the magistrate, we find the magistrate had a substantial basis for
concluding that a search would uncover evidence of wrongdoing; thus, the trial court did not
err by denying the motion to suppress.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Long’s first issue is overruled.
Motion to Disclose Identity of ci
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In Long’s second issue, he argues the trial court erred by denying his motion to disclose
the identity of the CI.  Long asserts disclosure of the CI’s identity is necessary because the CI
is a material witness to his guilt or innocence. 
Law
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Generally, the State has a privilege to refuse to disclose the identity of a CI who has
furnished information to a law enforcement officer conducting an investigation.  See Tex. R.
Evid. 508(a).  There are three exceptions to this privilege which may require the State to
disclose the identity of the CI.  See Tex. R. Evid. 508(c)(1)-(3).  Long relies on the second
exception, which provides in pertinent part:
Testimony on Merits.  If it appears from the evidence in the case or from
other showing by a party that an informer may be able to give testimony
necessary to a fair determination of ... guilt or innocence in a criminal case,
and the public entity invokes the privilege, the court shall give the public
entity an opportunity to show in camera facts relevant to determining whether
the informant can, in fact, supply that testimony.  

Tex. R. Evid. 508(c)(2).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The defendant bears the initial burden of showing that the CI may be able to give
testimony necessary to a fair determination of the defendant’s guilt or innocence.  Id.  This
initial burden has been described as a “plausible showing.”  Bodin v. State, 807 S.W.2d 313,
318 (Tex. Crim. App. 1991).  “Evidence from any source, but not mere conjecture or
speculation must be presented to make the required showing that the CI’s identity must be
disclosed.”  Id.  If the defendant meets the burden of making the preliminary showing, then the
trial court is required to hold an in-camera hearing.  See Bailey v. State, 804 S.W.2d 226, 230
(Tex. App.—Amarillo 1991, no pet.).  The in-camera hearing provides the State the
opportunity to show facts that rebut the defendant’s preliminary showing.  Id.
Analysis
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Detective Tanner spoke with the CI on April 8, 1999.  The CI told Tanner that he or she
had witnessed Long and others manufacturing methamphetamine within the last forty-eight
hours from the time of the conversation.  In reliance, in part, on that information, Tanner
swore in his affidavit that it was his belief Long possessed methamphetamine on or about the
date of April 8, 1999.  The magistrate issued the search warrant based on probable cause that
Long possessed methamphetamine.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Tanner executed the search warrant during the morning hours of April 9, 1999.  During
the execution of that search warrant, Tanner found and seized the following contraband and
laboratory equipment: 1) methamphetamine speed in a coffee filter; 2) a glass jar of liquid that
had a coffee filter with methamphetamine on top of it; 3) a glass jar with methamphetamine
inside; 4) a glass plate with methamphetamine on it; 5) parade salt, Rooto drain opener and one
pair of gloves; 6) broken batteries, used lithium strips and two empty cans of Prestone starting
fluid; 7) a blue Wal-Mart sack that contained a white plastic bag of empty boxes of Equate
Antihistabs; 8) a propane cylinder; and 9) coffee filters.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Long was indicted for knowingly and intentionally manufacturing methamphetamine by
means of chemical synthesis.  At trial, Tanner testified that it takes about three hours to
manufacture methamphetamine by the Nazi Lab method and that the process usually yields
between four and seven grams of the finished product.  There was also testimony that Tanner
seized 116.71 grams of the finished product when he executed the search warrant.  Evidence
supporting the verdict included the equipment and chemicals to manufacture
methamphetamine; the methamphetamine found and seized from Long’s residence; testimony
of Tanner and Department of Public Safety chemist Araceli Uptmore, who tested the seized
contraband; testimony about the letter Long wrote James Jones, an employee of the Navarro
County Sheriff’s Department assigned to the criminal investigation division, detailing Long’s
involvement in the manufacture of the methamphetamine that was found and seized at his
residence; and the letter itself containing Long’s confession.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;During the pre-trial hearing, Long testified that no one, including himself, had been at his
residence during the two-and-one-half days prior to the execution of the search warrant.  He
testified that he had only been home about five minutes prior to the officers arrival and that he
had been in Robert Rios’


 presence before then.  Long later testified he had been home thirty
minutes to one hour before the officers arrived and that he “did not knowingly and
intentionally manufacture nothing.  I helped Robert Rios.”
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Long correctly argues that when a CI is present at the time of an illegal transaction or
participated in its commission, the CI is a material witness to that transaction and must be
identified.  See Anderson v. State, 817 S.W.2d 69, 72 (Tex. Crim. App. 1991).  But in this
case, the illegal act the CI witnessed is not the same illegal act with which Long is charged. 
The CI related what he or she had seen to Tanner.  This information was used to show
probable cause that Long possessed methamphetamine and for the issuance of the warrant to
search for methamphetamine.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;When the search warrant was executed on the morning of April 9, 1999, the day after his
conversation with the CI, Tanner found equipment and chemicals used to produce
methamphetamine, and methamphetamine in and around that equipment at Long’s residence.
This evidence, found and seized by Tanner on the morning of April 9, 1999, is the basis for
the charge and indictment against Long.  Long himself testified that no one had been at his
residence in the previous two-and-one-half days.  Thus, the CI was not a material witness to
the events upon which the State relied for a conviction, which were the events and evidence
Tanner witnessed and seized when he executed the search warrant, and not what the CI had
seen within forty-eight hours of his or her conversation with Tanner on the evening of April 8,
1999.  Cf. Williams v. State, 787 S.W.2d 198, 200 (Tex. App.—Corpus Christi 1990, pet.
ref’d) (court commits reversible error where it denies request to disclose identity of informant
who participates in negotiation and transfer of cocaine, events upon which State relied for
conviction).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The CI only supplied information which established probable cause necessary for the
issuance of a search warrant for methamphetamine.  He or she did not supply the information
upon which the State relied for a conviction on manufacturing methamphetamine; Tanner
supplied that particular information.  See Kee v. State, 666 S.W.2d 199, 202 (Tex.
App.—Dallas 1983), pet. dism’d improvidently granted, 758 S.W.2d 788 (Tex. Crim. App.
1988) (noting that court-ordered disclosure of informant’s identity is more difficult to obtain in
an attack on validity of search warrant than on question of guilt or innocence).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Thus, the testimony elicited at the hearing does not satisfy Long’s initial burden to show
that the CI may be able to give testimony necessary to a fair determination of his guilt or
innocence on manufacturing methamphetamine and does not trigger the procedural
requirements of Rule 508(c)(2).  We overrule Long’s second issue.Factual Sufficiency of Chronology of Prior Convictions
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In his third issue, Long states that “the appellant’s indictment in the case was
fundamentally defective,” but argues under this issue that the evidence of the chronology of the
prior convictions used to enhance his punishment was factually insufficient.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The indictment was enhanced under section 12.42(d) of the Texas Penal Code, which
states in pertinent part:
If it is shown on the trial of a felony offense ... that the defendant has
previously been finally convicted of two felony offenses, and the second
previous conviction is for an offense that occurred subsequent to the first
previous conviction having become final, on conviction he shall be punished
by imprisonment in the institutional division of the Texas Department of
Criminal Justice for life, or for any term not more than 99 years or less than
25 years.

Tex. Penal Code § 12.42(d) (Vernon 2004).  Where a defendant pleads “true” to
enhancement paragraphs, he cannot complain on appeal that the evidence was insufficient to
support those enhancements.  Harvey v. State, 611 S.W.2d 108, 111 (Tex. Crim. App. [Panel
op.] 1981).  Long pled true to the two felony offenses used to enhance his punishment.   He
cannot now complain about the sufficiency of the evidence to support those offenses.  Long’s
third issue is overruled.
Counsel of Choice
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In his fourth issue, Long argues the trial court erred by denying him the opportunity to
obtain counsel of his choice.  Long argues his Sixth Amendment right to assistance of counsel
was violated when the court forced him to go to trial, and did not, sua sponte, grant a
continuance in order for Long to hire an attorney of his choice.  He argues further that there
was not time to hire other counsel, which also violated his rights under the Sixth Amendment.
Background
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Long was indicted for this offense in July of 1999.  An attorney was appointed for Long in
August of 1999, although the record does not indicate which attorney was appointed.  At some
point in time Long hired Tony Wright to represent him.  Wright started filing motions in the
case in September of 1999.  Wright also appeared as the attorney representing Long in October
of 1999 at a pretrial hearing.  By January of 2000, though, Wright filed a motion to withdraw
which was denied by the court.  On April 5, 2000, the court removed Kelly Myers as
“appointed co-counsel”


 and “re-appointed” Don Phillips.  The record does not indicated when
Myers was appointed or when Phillips was ever previously appointed.  On August 9, 2000,
Wright filed another motion to withdraw which was granted the same day.  Long’s trial started
five days later on August 14, 2000.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On the morning of trial, the court heard pre-trial motions.  During this hearing, Long
voiced his dissatisfaction with Phillips.  Long told the court he had previously fired Phillips
and there was friction between them and that Long believed Phillips did not have time to
represent him in the proper way.  The court denied Long’s request to remove Phillips.  Long
told the court Wright was to refund half of his retainer; thus, Long could retain counsel for
himself.  The court then granted Long’s request to obtain retained counsel, but did not remove
Phillips as Long’s appointed counsel and informed Long that the trial would continue that
afternoon.  Phillips offered to assist Long if Long preferred to represent himself.  The court
indicated it would not recommend Long represent himself, but, if after consulting with
Phillips, Long decided to represent himself, the court would require Phillips to be present and
assist Long in his defense.  After hearing testimony on other matters, the court concluded the
pre-trial hearing.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Later in the morning, before jury selection began, the court held a bench conference
outside the hearing of the prospective jurors.  Phillips informed the court that Long had chosen
not to represent himself.  The court confirmed the information by stating, “[h]e wants you to
continue as his attorney at this point.”  At this time, the bench conference was concluded and
the court began jury selection.
Law
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;“A criminal defendant is not entitled to appointed counsel of choice.”  Dunn v. State, 819
S.W.2d 510, 520 (Tex. Crim. App. 1991) (emphasis added).  Even though a criminal
defendant is entitled to effective assistance of counsel, this constitutional protection cannot be
used to obstruct the orderly procedure in the courts or to interfere with the fair administration
of justice.  Id.  A criminal defendant may not wait until the day of trial to demand different
counsel or to request that counsel be dismissed so the defendant may retain other counsel. 
Robles v. State, 577 S.W.2d 699, 704 (Tex. Crim. App. 1979); Webb v. State, 533 S.W.2d
780 (Tex. Crim. App. 1976).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;An indigent defendant has received the protections provided under the Sixth Amendment
when a trial court appoints an attorney to represent him.  Malcom v. State, 628 S.W.2d 790,
791 (Tex. Crim. App. 1982); Reddic v. State, 976 S.W.2d 281, 283 (Tex. App.—Corpus
Christi 1998, pet. denied).  The defendant must accept the attorney or attorneys appointed by
the court unless the defendant can show adequate cause for appointment of another attorney. 
Thomas v. State, 550 S.W.2d 64, 68 (Tex. Crim. App. 1977); Reddic, 976 S.W.2d at 283.  If
a defendant is dissatisfied with the appointed counsel the defendant must bring the matter to the
attention of the court; thus, it is the burden of the defendant to prove entitlement to different
counsel.  Malcom, 628 S.W.2d at 791; Reddic, 976 S.W.2d at 283.  But “[o]nce the attorney-client relationship has been established any potential disruption of the relationship is subject to
careful scrutiny.  Thus, neither the attorney nor the client may sever the attorney-client
relationship without justifying the severance to the trial court.”  Reddic, 976 S.W.2d at 282
(citing Buntion v. Harmon, 827 S.W.2d 945, 948 n.3 (Tex. Crim. App. 1992) (orig.
proceeding)).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;There are three options available to the trial court when a defendant requests a change of
counsel at the last minute before trial.  Burgess v. State, 816 S.W.2d 424, 428-29 (Tex. Crim.
App. 1991).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;First, at its discretion the court can appoint, or allow the accused to
retain, new counsel.  Second, should the trial court deny new
counsel, and the accused unequivocally assert his right to self-representation under Faretta, persisting in that assertion after proper
admonishment, the court must allow the accused to represent
himself.  Third, unless the trial court allows new counsel, it must
compel an accused who will not waive counsel and does not assert
his right to self-representation to proceed with the lawyer he has,
whether he wants to or not.

Id.  
Analysis
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On the morning of trial, Long notified the court of his dissatisfaction with Phillips.  The
trial court followed the first of the three options available to it when confronted with a last
minute request to change counsel: it granted Long’s request, albeit with rather severe time
constraints because the trial was scheduled for that afternoon.  The court however, was not
required to allow the change of counsel to obstruct the orderly proceedings of the court or to
interfere with the fair administration of justice.  Wright had been allowed to withdraw five
days prior to trial.  Phillips had been Long’s appointed counsel since at least April 5, 2000. 
Long waited until the morning of August 14, 2000, the day of the trial, to notify the court of
his dissatisfaction.  Because the trial court was not required to allow Long to disrupt the
orderly procedure of the court when he asked for a change of counsel at the last minute, the
trial court did not err by not sua sponte granting a continuance in order for Long to obtain
other retained counsel.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Also, Long chose to proceed to trial with Phillips as his attorney.  Because Long was
given the opportunity to retain other counsel and he elected to continue with Phillips anyway,
there was no error by the trial court not to sua sponte grant a continuance in order for Long to
obtain different retained counsel.  Long’s fourth issue is overruled.
Ineffective Assistance of Counsel
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In his fifth issue, Long argues that he did not received a fair trial because he did not
receive effective assistance of counsel.  We have previously set out the standard of reviewing
ineffective assistance of counsel claims in a prior decision of this court.  Hervey v. State, No.
10-02-148-CR, 2004 Tex. App. Lexis 1479, * 2-5 (Tex. App.—Waco February 11, 2004, no
pet. h.).  We use that standard in reviewing Long’s ineffective assistance claim.
Analysis
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In his brief, Long lists eight sub-points that he believes demonstrate ineffective assistance
of counsel.  He presents arguments for only two of his sub-points.  We find no need to review
the six sub-points listed without argument, and will review only the two sub-points actually
argued in Long’s brief.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Long’s first argued sub-point regards the failure of his counsel to file a motion to recuse
the trial judge.  He argues that because the trial judge was the prosecutor in one of Long’s
previous convictions, his counsel should have filed a motion for recusal.  Long asserts that his
counsel either missed the fact that the trial judge had once prosecuted Long, and thus, did not
file the motion, or his counsel knew the trial judge had once prosecuted Long and still did not
file the motion for recusal.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Article 30.01 prohibits a judge from presiding over a case in which the judge was
previously the attorney for the State or the defense.  Tex. Code Crim. Proc. Ann. art. 30.01
(Vernon Supp. 2004).  If the judge did not participate in the case that is currently pending
before the judge, then article 30.01 does not require recusal.  The trial judge in this case had
not participated in the pending litigation, but had only prosecuted Long in a previous case. 
Even if Long’s counsel had filed a motion for recusal of the trial judge, the judge was not
required to grant the motion based on article 30.01.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In Long’s second argued sub-point, he contends that his counsel was ineffective because he
did not subpoena the CI to testify.  The trial court ruled the State was not required to disclose
the identity of the CI.  We have upheld the trial court’s ruling.  Under these circumstances, it
was impossible for Long’s counsel to subpoena someone whose identity was unknown to him.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Long fails to meet his burden of proving his counsel’s representation fell below the
objective standard of professional norms or showing a reasonable probability, that but for his
counsel’s unprofessional errors, the result of his trial would have been different.  Therefore,
his fifth issue is overruled.
Sufficiency of the Evidence
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In his sixth issue, Long contends the trial court erred in failing to grant his motion for
directed verdict because the evidence was insufficient to support the verdict.  We consider this
claim to be a challenge to the legal sufficiency of the evidence to support the conviction. 
Canales v. State, 98 S.W.3d 690, 693 (Tex. Crim. App.  2003).  The only case used and cited
by Long to support his issue is Clewis.  Clewis v. State, 922 S.W.2d 126 (Tex. Crim. App.
1996).  Clewis set the standard for review of factual sufficiency of the evidence, not legal
sufficiency of the evidence.  The rules of appellate procedure require briefs to contain
appropriate citations to authorities.  Tex. R. App. P. 38.1(h).  Long has failed to follow this
requirement.  Therefore, his issue is inadequately briefed and presents nothing for review. 
Tong v. State, 25 S.W.3d 707, 710 (Tex. Crim. App. 2000); see Walder v. State, 85 S.W.3d
824 (Tex. App.—Waco 2002, order).
Conclusion
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Having overruled each of Long’s issues that were properly briefed, we affirm the
judgment of the trial court.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;TOM GRAY
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice

Before Chief Justice Gray,
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice Vance, and
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice Reyna
(Justice Vance dissenting)
Affirmed
Opinion delivered and filed April 28, 2004
Publish
[CRPM]


